Case 4:07-cv-05944-JST Document 3214-12 Filed 12/18/14 Page 1 of 16




             EXHIBIT 12
       Case 4:07-cv-05944-JST Document 3214-12 Filed 12/18/14 Page 2 of 16



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12                                 UNITED STATES DISTRICT COURT

13                               NORTHERN DISTRICT OF CALIFORNIA

14                                     SAN FRANCISCO DIVISION

15 IN RE CATHODE RAY TUBE (CRT)                        No. 07-cv-5944-SC
16 ANTITRUST LITIGATION                                MDL No. 1917

                                                       AMENDED ANSWER OF THOMSON SA
17   This Document Relates to:                         TO TECH DATA’S FIRST AMENDED
                                                       COMPLAINT
18   Tech Data Corporation, ci al. v. Hitachi, Ltd.,
19   ci al., No. 13-cv-00157

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     AMENDED ANSWER OF THOMSON SA TO                                       No. 07-5944-SC; MDL No. 1917
     TECH DATA’S FIRST AMENDED COMPLAINT
        Case 4:07-cv-05944-JST Document 3214-12 Filed 12/18/14 Page 3 of 16



 I            Defendant Technicolor SA, f/k/a Thomson SA ("Thomson SA"), by and through its

 2    undersigned counsel of record, answers Tech Data Corporation and Tech Data Product

 3    Management, Inc.’s (collectively "Plaintiffs") First Amended Complaint ("FAC") and alleges

 4    additional or affirmative defenses as follows. Thomson SA denies each and every allegation in the

 5    FAC’s section headings and in all portions of the FAC not contained in numbered paragraphs. To

 6    the extent that the FAC’s allegations concern persons or entities other than Thomson SA, Thomson

 7    SA denies that such allegations support any claim for relief against Thomson SA. Thomson SA

 8    denies any allegations not explicitly admitted herein.
 1’
              1.     Thomson SA denies the allegations in Paragraphs 11, 12, 13, 41, 64, and 97 of

10    Plaintiffs’ FAC. To the extent these paragraphs consist of definitional allegations, no response is

11    required and Thomson SA therefore denies them.

12            2.     To the extent that the allegations in Paragraphs 1, 4 through 7, 9, 14,   15, 16, 18, 19,
13    21, 73, 74, 83 through 86, 94 through 96, 98 through 101, 103, 105, 108, 109, 112 through 141,164,

14    171, 172, 174, 175, 176, 188, 189, 199 through 201, 212, 215 through 232, 234 through 244, and

15    246 through 251 of Plaintiffs’ FAC relate to persons or entities other than Thomson SA, Thomson

16    SA lacks knowledge or information sufficient to form a belief about their truth and therefore denies

17    them. To the extent the allegations in those paragraphs relate to Thomson SA, Thomson SA denies

18    them unless expressly admitted below. Further, Thomson SA denies that it manufactured CRTs or

19    CRT Products, but admits that Thomson Consumer manufactured CPTs and CPT Products.

20    Thomson SA admits on information and belief that other companies alleged to be conspirators in

21    the FAC have manufactured CPTs and CDTs, but denies that Thomson SA engaged in any

22    conspiracy. To the extent the allegations in those paragraphs purport to define markets or market

23    activity which require expert opinion and testimony, Thomson SA denies them. To the extent the

24    allegations in those paragraphs are definitional allegations, no response is required and Thomson

25    SA therefore denies these allegations.

26            3.     Thomson SA lacks knowledge or information sufficient to form a belief about the

27    truth of the allegations in Paragraphs 17, 20, 22 through 40, 42 through 61, 65 through 72, 75

28
      AMENDED ANSWER OF THOMSON SA TO                1                        No. 07-5944-SC; MDL No. 1917
      TECH DATA’S FIRST AMENDED COMPLAINT
       Case 4:07-cv-05944-JST Document 3214-12 Filed 12/18/14 Page 4 of 16



 1   through 82, 88, 92, 93, 102, 104, 106, 107, 110, 111, 142 through     158, 160 through 163, 165, 190

 2   through 195, 197, 203 through 206, 209, and 214 of Plaintiffs’ FAC and therefore denies them.

 3          4.      To the extent that the allegations in Paragraphs 166 through 170, 173, 178 through

 4   186, 196, 198, 202, 207, 208, 210, 211, 213, and 233 of Plaintiffs’ FAC purport to characterize

 5   written documents, Thomson SA denies that Plaintiffs have accurately or completely interpreted,

 6   characterized, or stated the substance or context of the written documents and therefore denies these

 7   allegations. To the extent those paragraphs contain additional allegations that relate to persons or

 8   entities other than Thomson SA, Thomson SA lacks knowledge or information sufficient to form a

 9   belief about their truth and therefore denies them. To the extent those paragraphs contain

     allegations that relate to Thomson SA, Thomson SA denies them unless expressly admitted below.

     To the extent the allegations in those paragraphs purport to define markets or market activity which

12   require expert opinion and testimony, Thomson SA denies them.

13          5.      Thomson SA admits that the allegations in Paragraphs 87, 89, 90, and 91 purport to

14   contain descriptions of CRT technology and history. Thomson SA denies that these allegations

15   completely and accurately describe all variants of CRT technology and therefore denies them. To

16   the extent the allegations in those paragraphs purport to define markets or market activity which

17   require expert opinion and testimony, Thomson SA denies them.

18          6.      With regard to the allegations in Paragraphs 2 and 3 of Plaintiffs’ FAC, Thomson SA

19   denies that it manufactured CRTs or CRT Products, but admits that Thomson Consumer

20   manufactured CPTs and CPT Products. Thomson SA admits on information and belief that other

21   companies alleged to be conspirators in the FAC have manufactured CPTs and CDTs, but denies

22   that Thomson SA engaged in any conspiracy. Thomson SA denies that it controlled the "majority

23   of the CRT industry" during the relevant period. Thomson SA lacks knowledge or information

24   sufficient to form a belief about the truth of the other allegations in Paragraphs 2 and 3 and

25   therefore denies them. To the extent the allegations in Paragraphs 2 and 3 are definitional

’S   allegations, no response is required and Thomson SA therefore denies these allegations.

27          7.      With regard to the allegations in Paragraphs 8 and 10 of Plaintiffs’ FAC, Thomson

     SA admits that European, Mexican and Brazilian authorities have investigated Thomson SA, but
     AMENDED ANSWER OF THOMSON SA TO               2                          No. 07-5944-SC; MDL No. 1917
     TECH DATA’S FIRST AMENDED COMPLAINT
       Case 4:07-cv-05944-JST Document 3214-12 Filed 12/18/14 Page 5 of 16



 1   denies that those investigations have any relation to the United States CRT market or have alleged

 2   or found violations of United States antitrust laws. Thomson SA further admits that Thomson

 3   Consumer was subpoenaed by the Department of Justice, but states that Thomson Consumer has not

 4   been subjected to any criminal enforcement actions in the United States or ever entered into a plea

 5   agreement with the Department of Justice. Thomson SA is aware that several individuals, including

 6   C.Y. Lin, have been indicted for violations of antitrust laws, but denies that it participated in any

 7   price-fixing conspiracy with these individuals, or that the actions of those individuals had any

 8   relation to the allegations concerning Thomson Consumer’s activities in the United States CPT

 9   market. Thomson SA denies any remaining allegations in Paragraphs 8 and 10.

10           8.      With regard to the first three sentences of Paragraph 62, Thomson SA admits that it

ii   is a French corporation with its principal place of business located at 1-5 Rue Jeanne d’Arc, 92130

12   Issy-les-Moulineaux, France, but denies that Thomson SA ever manufactured, marketed, sold, or

13   distributed CRT products to customers in the United States and denies the remaining allegations in

14   first three sentences. Thomson SA denies the allegations in the fourth and fifth sentences. With

15   regard to the sixth and seventh sentences, Thomson SA admits that it took a minority in a joint

16   venture formed with TCL Corporation, known as TCL-Thomson Electronics Corporation, but states

17   that the deal closed in 2004 and that Thomson SA ceased any ownership or interest in TCL

18   Thomson in 2010. Thomson SA denies that the allegations in the eighth sentence completely or

19   accurately describe the TCL-Thomson joint venture agreement and therefore denies these

20   allegations. With regard to the ninth sentence, Thomson SA admits that it sold its CRT business to

21   Videocon Industries, Ltd. in 2005. Thomson SA denies the allegations in the tenth sentence of

22   Paragraph 62. Except as specifically admitted herein, Thomson SA denies the remaining

23   allegations of Paragraph 62 in their entirety.

24           9.      With regard to the first four sentences of Paragraph 63, Thomson SA admits that

25   Thomson Consumer Electronics, Inc., is now known as Technicolor USA, Inc., and that it is a

26   Delaware corporation with its principal place of business located at 1033 N. Meridian Street,

27   Indianapolis, Indiana 47290-1024. Thomson SA admits that Thomson Consumer is wholly owned

28   by Thomson SA, admits that Thomson Consumer had manufacturing plants in Scranton,
     AMENDED ANSWER OF THOMSON SA TO                  3                     No. 07-5944-SC; MDL No. 1917
     TECH DATA’S FIRST AMENDED COMPLAINT
       Case 4:07-cv-05944-JST Document 3214-12 Filed 12/18/14 Page 6 of 16



     Pennsylvania and Marion, Indiana during portions the Relevant Period, but denies that Thomson

 2   Consumer directly owned CRT manufacturing plants in Mexicali, Mexico. Thomson SA admits that

 3   Thomson Consumer sold CPTs for use in CRT televisions to television manufacturers in North

 4   America during the portions of the Relevant Period and that its United States-based plants were

 5   closed by 2004, but denies the remaining allegations in the first through fifth sentences. With

 6   regard to the sixth sentence, Thomson SA states that the reference to "Thomson" is vague and

 7   ambiguous and therefore denies the allegations in that sentence but admits that Thomson Consumer

 8   sold CRT televisions in the United States under the RCA brand. With regard to the seventh

 9   sentence, Thomson SA admits that Thomson Consumer’s CRT business was sold to Videocon

10   Industries, Ltd. in 2005. With regard to the eighth sentence, Thomson SA admits that prior to the

11   sale of its CRT business in 2005, Thomson Consumer manufactured, marketed, sold, or distributed

12   CPT Products in the United States, but otherwise denies the allegations in that sentence. Thomson

13   SA denies the remaining allegations of Paragraph 63 in their entirety.

14           10.    With regard to the allegations in Paragraph 159 of Plaintiffs’ FAC, Thomson SA

15   states that any references to "Thomson" are vague and ambiguous and admits solely that it sold its

16   CRT business to Videocon in 2005. Thomson SA denies that it engaged in, or conspired with

17   others to engage in, any violations of United States antitrust laws. Thomson SA further denies that

18   the alleged actions of any individuals in Paragraph 159 would, if proven, be imputable to Thomson

19   SA and that they relate to the sale of CRTs in the United States. Thomson SA denies any remaining

20   allegations in Paragraph 159.

21           11.    With regard to the allegations in Paragraphs 177 and 187 of Plaintiffs’ FAC,

22   Thomson SA states that the use of the term "Thomson" renders these paragraphs vague and

23   uncertain as to Thomson SA and therefore denies such allegations to the extent not expressly

24   admitted herein. Thomson SA admits that the European Commission opened an investigation but

25   lacks knowledge or information sufficient to form a belief as to the truth of the remaining

26   allegations regarding the scope or timing of the investigations and therefore denies them. Thomson

27   SA admits that the European Commission alleged that several companies, including Thomson SA,

28   engaged in anticompetitive conduct in Europe and levied a fine of 38,631,000 million against
     AMENDED ANSWER OF THOMSON SA TO               4                          No. 07-5944-SC; MDL No. 1917
     TECH DATA’S FIRST AMENDED COMPLAINT
       Case 4:07-cv-05944-JST Document 3214-12 Filed 12/18/14 Page 7 of 16



 1   Thomson SA in 2012, but denies that the European Commission’s investigation or allegations in

 2   Europe support in any way Plaintiffs’ allegations that Thomson SA violated any United States

 3   antitrust laws or that alleged conduct in Europe had any relation to the United States CRT market.

 4   Thomson SA denies and remaining allegations in Paragraphs 177 and 187.

 5           12.     With regard to Paragraphs 245, 252, 260, and 269, Thomson SA incorporates by

 6   reference all of the above responses and statements.

 7           13.     With regard to Paragraphs 253 through 259, 261 through 268, and 270 through 276,

 8   Thomson SA states that Plaintiffs’ California and Florida state-law claims have been dismissed and

 9   therefore no response is required. To the extent a response is required and the allegations in those

10   paragraphs relate to persons or entities other than Thomson SA, Thomson SA lacks knowledge or

11   information sufficient to form a belief about their truth and therefore denies them. To the extent a

12   response is required and the allegations relate to Thomson SA, Thomson SA denies them.

13                                                   DEFENSES

14           Without assuming any burden it would not otherwise bear, and reserving its right to amend

15   its Answer to assert additional defenses as they may become known during discovery, Thomson SA

16   asserts the following separate, additional and/or affirmative defenses:

17                                                FIRST DEFENSE

18                                           (Failure to State a Claim)

19           The FAC fails to state a claim upon which relief can be granted.

20                                                SECOND DEFENSE

21                                            (Statute of Limitations)

22           Plaintiffs’ claims should be dismissed to the extent that they are barred, in whole or in part,

23   by the applicable statutes of limitations.

24                                                THIRD DEFENSE

25                                (Failure to Plead Fraud With Particularity)

26           The statutes of limitations are not tolled because Plaintiffs have failed to plead fraudulent

27   concealment with the particularity required by Rule 9(b) of the Federal Rules of Civil Procedure.

28
     AMENDED ANSWER OF THOMSON SA TO                 5                          No. 07-5944-SC; MDL No. 1917
     TECH DATA’S FIRST AMENDED COMPLAINT
       Case 4:07-cv-05944-JST Document 3214-12 Filed 12/18/14 Page 8 of 16



 1                                             FOURTH DEFENSE

 2                             (Failure to Plead Conspiracy With Particularity)

 3           Plaintiffs’ claims are barred in whole or part because the FAC fails to plead conspiracy with

 4   particularity required under applicable law.

 5                                              FIFTH DEFENSE

 6                                                  (Withdrawal)

 7           Plaintiffs’ claims are barred, in whole or in part, by reason of Thomson SA’s withdrawal

 8   from or abandonment of any alleged conspiracy.

 9                                              SIXTH DEFENSE

10                                (Claim Splitting and Election of Remedies)

11           Plaintiffs’ claims are barred, in whole or in part, by reason of claim splitting and by the

12   doctrine of the election of remedies.

13                                            SEVENTH DEFENSE

14                                                     (Laches)

15           Plaintiffs’ claims are barred, in whole or in part, under the doctrine of laches.

16                                             EIGHTH DEFENSE

17                                   (Estoppel, Waiver, or Unclean Hands)

18          Plaintiffs’ claims are barred, in whole or in part, under the doctrines of estoppel, waiver,

19   and/or unclean hands.

20                                              NINTH DEFENSE

21                                           (Reasonable Justification)

22          Plaintiffs’ claims are barred, in whole or in part, because all of the actions of Thomson SA

23   being challenged by Plaintiffs were lawful, justified, procompetitive, constitute bona fide business

24   competition, and were carried out in furtherance of Thomson SA’s legitimate business interests.

25                                              TENTH DEFENSE

26                                                  (Acquiescence)

27          Plaintiffs’ claims are barred, in whole or in part, by reason of Plaintiffs’ acquiescence to the

28   conduct of Thomson SA.
     AMENDED ANSWER OF THOMSON SA TO                  6                         No. 07-5944-SC; MDL No. 1917
     TECH DATA’S FIRST AMENDED COMPLAINT
       Case 4:07-cv-05944-JST Document 3214-12 Filed 12/18/14 Page 9 of 16



                                            ELEVENTH DEFENSE

 2                            (Accord and Satisfaction, Release and Settlement)

 3           Plaintiffs’ claims are barred, in whole or in part, by the doctrines of accord and satisfaction,

 4   and release and settlement.

 5                                           TWELFTH DEFENSE

 6                                  (Government Privilege/Non-Actionable)

 7           Plaintiffs’ claims are barred, in whole or in part, because the conduct of Thomson SA

 8   alleged in the Complaint was caused by, due to, based upon, or in response to directives, laws,

 9   regulations, policies, and/or acts of governments, governmental agencies and entities, and/or

10   regulatory agencies, and as such is non-actionable or privileged.

11                                         THIRTEENTH DEFENSE

12                                              (Lack of Standing)

13           Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs lack standing to bring the

14   claims asserted in the Complaint.

15                                        FOURTEENTH DEFENSE

16                                                 (Ultra Vires)

17           Plaintiffs’ claims are barred, in whole or in part, because, to the extent that any employee or

18   agent of Thomson SA engaged in any unlawful act or omission, any such act or omission would

19   have been committed by individuals acting ultra vires.

20                                          FIFTEENTH DEFENSE

21                                            (Intervening Causes)

22           Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs’ alleged injuries, if any,

23   stemmed from intervening or superseding causes.

24                                          SIXTEENTH DEFENSE

25                                         (Lack of Antitrust Injury)

26           Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs have not suffered an

27   antitrust injury.

28
     AMENDED ANSWER OF THOMSON SA TO                 7                          No. 07-5944-SC; MDL No. 1917
     TECH DATA’S FIRST AMENDED COMPLAINT
      Case 4:07-cv-05944-JST Document 3214-12 Filed 12/18/14 Page 10 of 16



 1                                          SEVENTEETH DEFENSE

 2                                           (No Act of Thomson SA)

 3           Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs have not been injured in

 4   their business or property by reason of any action of Thomson SA.

 5                                          EIGHTEENTH DEFENSE

 6                                            (Speculative Damages)

 7           Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs’ alleged damages, if any,

 8   are speculative and because of the impossibility of the ascertainment and allocation of such alleged

 9   damages.

10                                          NINETEENTH DEFENSE

11                                       (Failure to Mitigate Damages)

12           Plaintiffs’ claims are barred from recovery of damages, in whole or in part, because of and

13   to the extent of Plaintiffs’ failure to mitigate damages.

14                                          TWENTIETH DEFENSE

15                                                (Pass Through)

16           Plaintiffs’ claims for an illegal overcharge are barred, in whole or in part, to the extent that

17   such overcharge was absorbed, in whole or in part, by others, and was not passed through to

18   Plaintiffs.

19                                        TWENTY-FIRST DEFENSE

20                                          (Available Remedy at Law)

21           Plaintiffs’ claims or causes of action for injunction or other equitable relief are barred, in

22   whole or in part, because Plaintiffs have available an adequate remedy at law.

23                                      TWENTY-SECOND DEFENSE

24                                 (Lack of Standing for Prospective Relict)

25           Plaintiffs’ claims or causes of action are barred, in whole or in part, because Plaintiffs seek

26   to enjoin alleged events that have already transpired and without the requisite showing of threatened

27   future harm or continuing violation.

28
     AMENDED ANSWER OF THOMSON SA TO                 8                         No. 07-5944-SC; MDL No. 1917
     TECH DATA’S FIRST AMENDED COMPLAINT
      Case 4:07-cv-05944-JST Document 3214-12 Filed 12/18/14 Page 11 of 16



 1                                       TWENTY-THIRD DEFENSE

 2                                                  (Vagueness)

 3           Plaintiffs’ claims should be dismissed for uncertainty and vagueness and because their

 4   claims are ambiguous or unintelligible. Plaintiffs do not describe the events or legal theories with

 5   sufficient particularity to permit Thomson SA to ascertain what other defenses may exist.

 6                                      TWENTY-FOURTH DEFENSE

 7                                             (Unjust Enrichment)

 8           Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs would be unjustly

 9   enriched if they were allowed to recover any part of the damages alleged in the Complaint.

10                                        TWENTY-FIFTH DEFENSE

11                                                 (Restitution)

12           Plaintiffs’ claims are barred from recovery of damages, in whole or in part, to the extent that

13   any restitution or award of damages to Plaintiffs would be excessive and punitive, and

14   disproportionate to any alleged injury suffered by Plaintiffs.

15                                        TWENTY-SIXTH DEFENSE

16                                             (Comparative Fault)

17           Plaintiffs’ claims are barred, in whole or in part, to the extent the injuries alleged in the

18   Complaint were directly and proximately caused by or contributed to by the statements, acts, or

19   omissions of Plaintiffs or third persons or entities unaffiliated with Thomson SA.

20                                     TWENTY-SEVENTH DEFENSE

21                                   (Res Judicata or Collateral Estoppel)

22           Plaintiffs’ claims are barred, in whole or in part, by the doctrines of res judicata or collateral

23   estoppel.

24                                      TWENTY-EIGHTH DEFENSE

25                               (Foreign Trade Antitrust Improvements Act)

26           Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs have failed to allege facts

27   sufficient to support a claim under the Foreign Trade Antitrust Improvements Act, 15 U.S.C. § 6a.

28
     AMENDED ANSWER OF THOMSON SA TO                 9                           No. 07-5944-SC; MDL No. 1917
     TECH DATA’S FIRST AMENDED COMPLAINT
      Case 4:07-cv-05944-JST Document 3214-12 Filed 12/18/14 Page 12 of 16



                                         TWENTY-NINTH DEFENSE

 2                                               (Foreign Sales)

 3          Plaintiffs’ claims are barred, in whole or in part, to the extent Plaintiffs seek to recover

 4   damages, if any, based on sales outside of the United States.

 5                                          THIRTIETH DEFENSE

 6                                             (Improper Joinder)

 7           Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs’ claims are improperly

 8   joined within the meaning of Rule 20 of the Federal Rules of Civil Procedure because they did not

 9   arise out of the same transaction, occurrence, or series of transactions or occurrences and do not

10   involve questions of law or fact common to all defendants.

11                                        THIRTY-FIRST DEFENSE

12                                       (Failure to Exhaust Remedies)

13           Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs failed to exhaust all

14   remedies against the parties with whom Plaintiffs are in privity.

15                                      THIRTY-SECOND DEFENSE

16                                          (No Multiple Recoveries)

17          Plaintiffs’ claims are barred, in whole or in part, to the extent they would result in Thomson

18   SA paying damages to more than one claimant for the same alleged overcharge, because such

19   multiple recoveries would violate rights guaranteed to the Thomson SA by applicable states’ laws

20   and the United States Constitution, including, without limitation, rights guaranteed under the Due

21   Process Clause of the Fourteenth Amendment.

22                                       THIRTY-THIRD DEFENSE

23                                       (Voluntary Payment Doctrine)

24          Plaintiffs’ claims are barred, in whole or in part, by the voluntary payment doctrine, under

25   which Plaintiffs are not entitled to recover payments made with full knowledge of the facts.

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     AMENDED ANSWER OF THOMSON SA TO                10                        No. 07-5944-SC; MDL No. 1917
     TECH DATA’S FIRST AMENDED COMPLAINT
      Case 4:07-cv-05944-JST Document 3214-12 Filed 12/18/14 Page 13 of 16



 1                                        THIRTY-FOURTH DEFENSE

 2                                                     (Set Oft)

 3             Without admitting that Plaintiffs are entitled to recover damages from Thomson SA in this

 4   matter, Thomson SA is entitled to set off from any recovery Plaintiffs obtain against Thomson SA

 5   any amount paid to under settlements with other defendants in this or related matters.

 6                                          THIRTY-FIFTH DEFENSE

 7                                                    (Privilege)

 8             Plaintiffs’ claims should be dismissed to the extent that they are barred, in whole or in part,

 9   because any action taken by or on behalf of Thomson SA was justified, constituted bona fide

10   business competition, and was taken in pursuit of its own legitimate business and economic interests

11   and is therefore privileged.

12                                          THIRTY-SIXTH DEFENSE

13                                          (Noerr-Pennington Doctrine)

14             Plaintiffs’ claims should be dismissed to the extent that they are barred, in whole or in part,

15   by the doctrine of Noerr-Pennington.

16                                        THIRTY-SEVENTH DEFENSE

17                                            (Forum Non Conveniens)

18             The Complaint should be dismissed on the grounds of forum non conveniens to the extent

19   the claims are governed by the laws of foreign states.

20                                          THIRTY-EIGTH DEFENSE

21                                                (Improper Venue)

22             Plaintiffs’ claims are barred, in whole or in part, because venue does not lie in this Court.

23                                          THIRTY-NINTH DEFENSE

24                                         (Improper Forum/Arbitration)

25             Plaintiffs’ claims should be dismissed to the extent that they are barred, in whole or in part,

26   because Plaintiffs have agreed to arbitration or chose a different forum for the resolution of their

27   claims.

28
     AMENDED ANSWER OF THOMSON SA TO                  11                          No, 07-5944-SC; MDL No. 1917
     TECH DATA’S FIRST AMENDED COMPLAINT
      Case 4:07-cv-05944-JST Document 3214-12 Filed 12/18/14 Page 14 of 16



 1                                             FORTIETH DEFENSE

 2                                                (Intervening Conduct)

 3              Plaintiffs’ claims should be dismissed to the extent that they are barred, in whole or in part,

 4   because any alleged injuries and damages were not legally or proximately caused by any acts or

 5   omissions of Thomson SA or were caused, if at all, solely and proximately by the conduct of third

 6   parties, including, without limitations, the prior, intervening, or superseding conduct of such third

 7   parties.

 8                                           FORTY-FIRST DEFENSE

 9                                     (Lack of Subject-Matter Jurisdiction)

10              This Court lacks subject-matter jurisdiction over Plaintiffs’ claims pursuant to, but not

11   limited to, the Foreign Trade Antitrust Improvements Act, and because the conduct alleged to

12   provide a basis for Plaintiffs’ claims did not have a direct, substantial, and reasonably foreseeable

13   effect on trade or commerce within the United States.

14                                          FORTY-SECOND DEFENSE

15                                                (Indispensable Parties)

16              Plaintiffs’ claims should be dismissed to the extent that they are barred, in whole or in part,

17   for failure to join indispensable parties.

18                                           FORTY-THIRD DEFENSE

19                                     (Incorporation of Defenses of Others)

20              Thomson SA adopts by reference any applicable defense pleaded by any other defendant not

21   otherwise expressly set forth herein.

22                                         FORTY-FOURTH DEFENSE

23                                         (Reservation of Other Defenses)

24              Thomson SA reserves the right to assert other defenses as this action proceeds up to and

25   including the time of trial.

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     AMENDED ANSWER OF THOMSON SA TO                    12                        No. 07-5944-SC; MDL No. 1917
     TECH DATA’S FIRST AMENDED COMPLAINT
      Case 4:07-cv-05944-JST Document 3214-12 Filed 12/18/14 Page 15 of 16



                                   THOMSON SA’S PRAYER FOR RELIEF

 2           WHEREFORE, Thomson SA prays for judgment as follows:

 3           1.        That Plaintiffs take nothing by reason of the FAC, and that the action be dismissed

 4   with prejudice,

 5           2.        That the Court enter judgment in favor of Thomson SA and against Plaintiffs with

 6   respect to all causes of action in the FAC,

 7           3.        That the Court award Thomson SA its attorneys’ fees and other costs reasonably

 8   incurred in the defense of this action, and

 9           4.        That the Court award Thomson SA such other and further relief as the Court may

10   deem just and proper.

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     AMENDED ANSWER OF THOMSON SA TO                13                        No. 07-5944-SC; MDL No. 1917
     TECH DATA’S FIRST AMENDED COMPLAINT
      Case 4:07-cv-05944-JST Document 3214-12 Filed 12/18/14 Page 16 of 16



 1   Dated: January_, 2015                      Respectfully submitted,

 2
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     AMENDED ANSWER OFTHOMSON SA TO        14                       No. 07-5944-SC; MDL No. 197
     TECH DATA’S FIRST AMENDED COMPLAINT
